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    Crytek GmbH
 15
 16                   IN THE UNITED STATES DISTRICT COURT
 17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18                               WESTERN DIVISION
 19 CRYTEK GMBH,                            )   Case No. 2:17-cv-08937-DMG-FFM
                                            )
 20                           Plaintiff,    )   CRYTEK GMBH’S EX PARTE
                                            )   APPLICATION FOR EXTENSION
 21              v.                         )   OF TIME TO RESPOND TO
                                            )   DEFENDANTS’ MOTION FOR
 22 CLOUD IMPERIUM GAMES CORP.              )   BOND
    and ROBERTS SPACE INDUSTRIES            )
 23 CORP.,                                  )
                                            )
 24                           Defendants.   )
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                CRYTEK’S EX PARTE APPLICATION FOR EXTENSION OF TIME
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  1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2        NOTICE IS HEREBY GIVEN that, pursuant to Local Rule 7-19 Crytek
  3 GmbH (“Crytek”) hereby submits this ex parte application for an order extending the
  4 time to respond to Defendants’ Motion For A Bond Pursuant to Cal. Civ. P. Code §
  5 1030 (ECF No. 57, “Bond Motion”).          Crytek requests that the Court grant an
  6 additional two-and-a-half week extension for Crytek to respond to that Bond Motion.
  7 The new proposed deadline to respond would be June 14, 2019; the new deadline for
  8 Defendants’ reply would be June 21, 2019; and, the new proposed hearing date
  9 would be July 12, 2019.
 10        The application is based upon this Notice, the accompanying Memorandum of
 11 Points and Authorities, and any argument or evidence presented at a hearing on this
 12 matter.
 13        Pursuant to Local Civil Rule 7-19, Crytek lists the counsel of record for the
 14 Defendants:
 15      Jeremy S. Goldman
         Frankfurt Kurnit Klein & Selz PC
 16      2029 Century Park East, Suite 1060N
         Los Angeles, CA 90067
 17      Tel: (310) 579-9624
         Fax: (347) 438-2149
 18      Email: jgoldman@fkks.com
 19        Crytek had understood, based on the parties’ ongoing discussions, that
 20 Defendants would agree to an extension to facilitate settlement talks. On May 23,
 21 2019, counsel for Defendants indicated that they would not so stipulate, which
 22 counsel for Defendants confirmed during a teleconference on the afternoon of May
 23 24, 2019. Crytek filed this application promptly thereafter.
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                CRYTEK’S EX PARTE APPLICATION FOR EXTENSION OF TIME
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  1
                                           Respectfully submitted,
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                CRYTEK’S EX PARTE APPLICATION FOR EXTENSION OF TIME
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  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2         Crytek respectfully submits this Memorandum of Points and Authorities in
  3 support of Crytek’s Ex Parte Application For Extension of Time to Respond to
  4 Defendants’ Motion For Bond.
  5         The deadline for Crytek to respond to Defendants’ Motion For A Bond
  6 Pursuant to Cal. Civ. P. Code § 1030 (ECF No. 57, “Bond Motion”) is May 28,
  7 2019.        Crytek requests that the Court grant an additional two-and-a-half week
  8 extension for Crytek to respond to that Bond Motion. The new proposed deadline to
  9 respond would be June 14, 2019; the new deadline for Defendants’ reply would be
 10 June 21, 2019; and, the new proposed hearing date would be July 12, 2019.
 11         In support, Crytek states:
 12         1.       On March 29, 2019, Defendants filed their Bond Motion. The Bond
 13 Motion also includes references to three declarations and thirty-seven supporting
 14 exhibits.
 15         2.       On April 4, 2019, Crytek and Defendants filed a Joint Stipulation to
 16 Continue Hearing On Defendants’ Bond Motion (ECF No. 58, “Joint Stipulation”).
 17 As part of that stipulation, the parties agreed that the hearing in connection with
 18 Defendants’ Bond Motion be continued to June 28, 2019 and that Crytek’s response
 19 to Defendants’ Bond Motion would be filed by May 28, 2019.
 20         3.       On April 5, 2019, the Court approved the Joint Stipulation filed by the
 21 parties.
 22         4.       Since that time, the parties have been further engaged in efforts to
 23 resolve this matter through settlement. So that the parties may complete those
 24 discussions and determine whether this matter can be resolved without further
 25 litigation, Crytek seeks an additional extension to respond to the Bond Motion.
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                    CRYTEK’S EX PARTE APPLICATION FOR EXTENSION OF TIME
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  1        5.     Defendants have indicated that they are unwilling to stipulate to such an
  2 extension. However, Crytek submits that the time and expense required to respond
  3 to the Bond Motion under the current deadline may derail any settlement discussions
  4 at this juncture. Therefore, a short further extension is respectfully requested.
  5        6.     Pursuant to Fed. R. Civ. P. 6(b)(1)(A), the Court may extend the time
  6 for any act for “good cause” if the request is made “before the original time.”
  7 “[R]equests for extension of time made before the applicable deadline has passed
  8 should ‘normally be granted in the absence of bad faith on the part of the party
  9 seeking relief or prejudice to the adverse party.’” Ahanchian v. Xenon Pictures, Inc.,
 10 624 F.3d 1253, 1259 (9th Cir. 2010) (citing 4B Charles Alan Wright & Arthur R.
 11 Miller, Federal Practice and Procedure § 1165 (3d ed. 2004)). Courts “generally will
 12 find good cause and grant the extension unless the moving party has been negligent,
 13 lacked diligence, acted in bad faith, or abused prior extensions.” Godinez v. Law
 14 Offices of Clark Garen, Case No. 16-00828-CJC (DFMx), 2016 WL 4527512, at *1
 15 (C.D. Cal. Aug. 30, 2016) (citing Moore’s Federal Practice, § 6.06[2] (2015)).
 16 “‘Good cause’ is a nonrigorous standard that has been construed broadly across
 17 procedural and statutory contexts.” Ahanchian, 624 F.3d at 1259.
 18        7.     Good cause exists here because the parties are engaged in ongoing
 19 efforts to resolve this matter through settlement. If a settlement is ultimately reached
 20 in the coming days by the parties, then an extension of time to respond to the Bond
 21 Motion will allow the parties to avoid the incurrence of additional time and expense
 22 associated with that motion.
 23        8.     Crytek has moved promptly and expeditiously for the extension. Crytek
 24 had understood, based on the parties’ ongoing discussions, that Defendants would
 25 agree to this extension to facilitate settlement talks. On May 23, 2019, counsel for
 26 Defendants indicated that they would not so stipulate, which counsel for Defendants
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                 CRYTEK’S EX PARTE APPLICATION FOR EXTENSION OF TIME
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  1 confirmed during a teleconference on the afternoon of May 24, 2019.             Crytek
  2 promptly filed its application the same day.
  3        9.     No party will be prejudiced by the extension requested. The parties
  4 have previously stipulated to an extension in connection with the Bond Motion
  5 already. A further extension of two-and-a-half weeks would not prejudice Crytek or
  6 Defendants.
  7        Accordingly, Crytek respectfully requests that the Court grant its Application.
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  9
                                               Respectfully submitted,
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                CRYTEK’S EX PARTE APPLICATION FOR EXTENSION OF TIME
